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                                        UNITED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA          :   Hon. Faith S. Hochberg

             v.                     :   Criminal No. 12—453 (FSH)

  YOUNG-KYU PARK, et al.            :   0 R D E p


             This matter having been opened to the Court on the

  joint application of Paul 3. Fishman, United States Attorney for

  the District of New Jersey (Anthony Moscato and Lisa N. Colone,

 Assistant U • S. Attorneys, appearing), and defendants Young—Kyu

 Park, a/k/a “Oscar” and “Anthony Bak” (by Mark Waecker, Esq.,

 appearing), Soong-Young Park (by Alan Baum, Esq., appearing),

 Hanna Park (by Steven Brill, Esq., appearing), Hyeun—Jin Park,

 a/k/a “Sharine” (by Christopher L. Patella, Esq., appearing),

 Jong—Hyek Park, a/k/a “Sean” (by Edward J. Plaza, Esq.,

 appearing), Ho-Man Lee (by Linwood Allen Jones, Esq., appearing),

 Samuel H. Park (by Donna R. Newman, Esq., appearing), Jong-No Kim

 (by Vincent James Sanzone    ,   Jr., Esq., appearing), Kae—Won Jho,

 a/k/a “Erica” (by Michael . Koflbar,zics, Esq., appearing), and

 Young-Sac Gu (by Robert Joseph Olejar, Esq., appearing),

 appearing), and good cause having been shown, the Court makes the

 following findings:

            1.    This case is sufficiently complex, due to the

 number of defendants and the nature of the prosecution, that it

 is unreasonable to expect adequate preparation for pretrial
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  proceedings and trial within the time limits established by Title

  18,    United States Code,       Section 3161;

               2.   A trial in this matter is likely to involve a large

  number of witnesses and significant amounts of evidence,

  including voluminous materials and recordings in the Korean

  language, and failure to grant a continuance would deny counsel

  for defendants and the government reasonable time necessary for

  effective preparation of this case,           taking into account the

 exercise of due diligence; and

              3     The ends of justice served by a continuance of the

 trial date in this matter until June 10,            2013 outweigh the

 interest of the public and the defendants in a speedy trial.

              IT IS,     therefore,   on this           day of November,
 2012,

              ORDERED that the trial date in this matter is continued

 until June 10,     2013, and that the period of time from November 8,

 2012 through and including June 10,            2013 shall be excluded for

 the purposes of computing time under the Speedy Trial
                                                       Act
 pursuant to 18 U.S.C. § 3161(h) (7) (A),           (h) (7) (B) (ii>, and
 (h) (7) (B) (iv); and it is further

              ORDERED that:

                    1.    Defendants shall file pretrial motions on or

before February 15,        2013;

                    2     The government shall respond to such motions

on or before April 5,        2013;
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                  3.    Defendants shall file any reply papers on or

 before April 19, 2012;

                  4.    The return date for pretrial motions shall be



                  5,    Trial in this matter shall be set for Monday,

 June 10, 2013.




                                        HON. FAITH S.  OCHERG
                                        United States District ¼e



 Anthony Moscato
 Assistant United States Attorney




 Mark Waecker, Esq.
 Attorney for Young-Kyu Park




  Alan Baum, Esq.
  Attorney for Soong-Young Park




  Steven Brill, Esq
  Attorney for Hanna Park




 Christopher L. Patel].a, Esq.
 Attorney for Hyeun-Jin Park
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                   3.     Defendants shall file any reply papers on or

 before April 19,       2012;

                   4.     The return date for pretrial motions shall be

                                          ;and

                   5.     Trial in this matter shall be set for Monday,

 June 10,   2013




                                          HON. FAITH S HOCHBERG
                                          United States District Judge



 Anthony Moscato
 Assistant United States Attorney




 Ma     ecker, Esq.
 At     y for Young-Kyu Park




 Alan Baum, Esq.
 Attorney for Soong—Young Park




 Steven Brill, Esq.
 Attorney for Hanna Park




 Christopher L. Patella, Esq.
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     before April 19,          2012;

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     June 10,    2013.




                                                  HON. FAITH S. HOCUBERG
                                                  United States District Judge



    Anthony Moscato
    Assistant United States Attorn
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    Mark Waecker, Esq
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                                             HON. FAITH S. HOCHBERG
                                             United States District Judge



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 Assistant United States Attorney




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 Christopher L. Patella, Esq.
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       June 10,   2O13




                                                  HON. FAITH S HOCHBERG
                                                  United States District Judge



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       Assistant United States Attorney




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